
718 S.E.2d 380 (2011)
In the Matter of T.A.S.
No. 332A11-1.
Supreme Court of North Carolina.
November 7, 2011.
Latoya B. Powell, Assistant Attorney General, for State of North Carolina.
Geeta Kapur, for J.A.S.
Jessica Feierman, for Juvenile Law Center.
Katherine Lewis Parker, Raleigh, for ACLU of NC, et al.
Rex Gore, District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 4th of November 2011 by Advocates for Children's Services of Legal Aid of N.C, et al. for Leave to File Amicus Curiae Brief:
"Motion Allowed by order of the Court in conference, this the 7th of November 2011."
